  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.1 Filed 07/30/24 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

SHAQUITHIA LANETTE JACKSON,

        Plaintiff,                           Case No.

-vs-

APPFOLIO, INC.,

        Defendant.

               COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, SHAQUITHIA LANETTE JACKSON (hereinafter

“Plaintiff”), by and through her undersigned counsel, for her cause of action against

Defendant, APPFOLIO, INC. (hereinafter “AppFolio”), and in support thereof

respectfully alleges violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681 et

seq. (“FCRA”).

                         PRELIMINARY STATEMENT

       1.     This is an action for actual damages, statutory damages, punitive

damages, costs, and attorney’s fees brought pursuant to the FCRA.

       2.     Consumer reporting agencies that create background reports, like

AppFolio, are charged with using reasonable procedures designed to ensure the

maximum possible accuracy of the information they report. It is not enough for them




                                         1
  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.2 Filed 07/30/24 Page 2 of 13




to simply parrot information they receive from entities, particularly where a

consumer makes a dispute about information reported.

      3.     When a consumer, like Plaintiff, disputes information through the

consumer reporting agencies, those disputes are transmitted to the party furnishing

the information. The FCRA demands that each party separately conduct a reasonable

investigation of the consumer’s dispute and correct or delete information they learn

to be inaccurate or cannot otherwise verify.

      4.     The Consumer Financial Protection Bureau has noted, “experience

indicates that [CRAs] lack incentives and under-invest in accuracy” Consumer Fin.

Prot. Bureau, Supervisory Highlights Consumer Reporting Special Edition 21 (Issue

14, March 2, 2017).

                    JURISDICTION, VENUE, AND PARTIES

      5.     Jurisdiction for this Court is conferred by 28 U.S.C. § 1331, as this

action involves violations of the FCRA.

      6.     Venue is proper for this Court pursuant to 28 U.S.C. § 1391(b)(2), as

this is the judicial district in which a substantial part of the events or omissions giving

rise to the claims occurred.

      7.     Venue is proper in this District as Plaintiff is a natural person and

resident of Monroe County, Michigan; the violations described in this Complaint

occurred in this District; and AppFolio transacts business within this District.

                                            2
  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.3 Filed 07/30/24 Page 3 of 13




      8.     Plaintiff is a “consumer” as defined by the FCRA.

      9.     AppFolio is a corporation with its principal place of business in the

State of California and is authorized to do business in the State of Michigan through

its registered agent, CSC-Lawyers Incorporating Service, located at 3410 Belle

Chase Way, Suite 600, Lansing, Michigan 48911.

      10.    AppFolio is a “consumer reporting agency” as defined in 15 USC §

1681(f). AppFolio is regularly engaged in the business of assembling, evaluating,

and disbursing information concerning consumers for the purpose of furnishing

background reports, as defined in 15 U.S.C. § 1681(d) to third parties.

      11.    AppFolio disburses such background reports to third parties under

contract for monetary compensation.

                           FACTUAL ALLEGATIONS

      12.    In or about 2022, Plaintiff resided in an apartment unit at the Arbor One

Apartments in Ypsilanti, Michigan.

      13.    The Arbor One Apartments in Ypsilanti, Michigan are managed by non-

party, LR Management Services Corp.

      14.    On or about May 27, 2022, a Consent Order for Conditional Dismissal

was entered in the State of Michigan, Judicial District, case number 22C-0634,

which ordered Plaintiff to vacate the subject apartment in which she currently




                                          3
  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.4 Filed 07/30/24 Page 4 of 13




resided at Arbor One Apartments in Ypsilanti, Michigan by June 15, 2022. Per the

court order, Plaintiff did not owe any rents and/or fees.

      15.    Pursuant to the court order, Plaintiff vacated her apartment at Arbor One

Apartments on or about June 15, 2022.

      16.    In or about September 2023, Plaintiff reviewed a copy of her tenant

screening report from AppFolio which reported LR Management Services Corp

under the section, “Rent Payment History”, with an inaccurate outstanding balance

of $5,257.

      17.    Shortly after learning of the inaccurate reporting, on or about

September 21, 2023, Plaintiff contacted AppFolio to dispute the erroneous reporting

in her tenant screening report. Plaintiff advised AppFolio that she did not owe any

outstanding rent to LR Management Services Corp, and that the outstanding balance

should be removed from her tenant screening report.

      18.    On or about September 28, 2023, Plaintiff received dispute results from

AppFolio which stated the outstanding rent balance to LR Management Services

Corp was verified as accurate.

      19.    On or about October 3, 2023, Plaintiff received additional dispute

results from AppFolio which again stated the outstanding rent balance to LR

Management Services Corp was verified as accurate.




                                          4
  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.5 Filed 07/30/24 Page 5 of 13




      20.    AppFolio failed to do any independent investigation into Plaintiff’s

dispute, and never attempted to contact Plaintiff during the alleged investigation.

      21.    On or about March 22, 2024, Plaintiff submitted an application to lease

a two-bedroom apartment with non-party, Renaissance Apartments, in Jackson,

Michigan.

      22.    Upon information and belief, Renaissance Apartments hired AppFolio

to prepare a tenant screening report on Plaintiff to determine her eligibility to lease

a two-bedroom apartment.

      23.    Upon review of the tenant screening report prepared by AppFolio,

Renaissance Apartments denied Plaintiff the opportunity to lease a property.

      24.    Renaissance Apartments denied Plaintiff the opportunity to lease a two-

bedroom apartment from it because the tenant screening report prepared by

AppFolio contained the aforementioned false and inaccurate Rent Payment History

about Plaintiff.

      25.    Due to the continued inaccurate reporting, on or about July 24, 2024,

Plaintiff mailed a detailed written dispute letter to AppFolio. Plaintiff advised that

the Rent Payment History was inaccurate and that she did not owe any outstanding

balance to LR Management Services Corp. Plaintiff included in the letter her

personal identifying information including her address, Social Security Number, and




                                          5
  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.6 Filed 07/30/24 Page 6 of 13




date of birth, and an image of her driver’s license. In the letter, Plaintiff included

images of the erroneous reporting and images of the Consent Order.

      26.          As of the filing of this Complaint, Plaintiff has not received dispute

results from Appfolio.

      27.          Despite Plaintiff’s best efforts to have the erroneous reporting

corrected, AppFolio continues to inaccurately report the Rent Payment History in

Plaintiff’s tenant screening report. Accordingly, Plaintiff's damages are ongoing as

of the filing of this Complaint.

      28.          Plaintiff continues to suffer as of the filing of this Complaint with

AppFolio’s reluctance to conduct a thorough investigation into her disputes or

otherwise make her background report accurate.

      29.          As a result of the inaccurate consumer reporting, Plaintiff has suffered

damages, including, but not limited to:

              i.      Monies lost by attempting to fix her background file. Plaintiff has

                      suffered actual damages in postage paid, wasted ink and paper, and

                      wasted time;

             ii.      Loss of time attempting to cure the errors;

            iii.      Mental anguish, added stress, aggravation, embarrassment,

                      sleepless nights, and other related impairments to the enjoyment of




                                               6
  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.7 Filed 07/30/24 Page 7 of 13




                     life; Plaintiff is being physically affected by AppFolio’s reluctance

                     to fix the errors;

            iv.      Apprehensiveness to apply for housing due to AppFolio’s errors;

                     and

            v.       Defamation as AppFolio published inaccurate information to third

                     party entities.

                                    CAUSES OF ACTION

                                         COUNT I
                           Violation of 15 U.S.C. § 1681e(b) as to
                           Defendant, AppFolio, Inc. (Negligent)

      30.         Plaintiff re-alleges and incorporates paragraphs one (1) through twenty-

nine (29) above as if fully stated herein.

      31.         AppFolio violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the background report and background files it published and

maintains concerning Plaintiff.

      32.         AppFolio allowed inaccurate information to be reported on Plaintiff’s

background file.

      33.         AppFolio prevents its agents from calling consumers (like Plaintiff)

during the dispute process or from calling witnesses with knowledge about the

dispute.

                                              7
  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.8 Filed 07/30/24 Page 8 of 13




      34.    As a direct result of this conduct, action and/or inaction of AppFolio,

Plaintiff suffered damages, including without limitation, denials for housing; loss of

time; financial loss; and mental and emotional pain stemming from the anguish,

humiliation, apprehension in applying for housing, and the damages otherwise

outlined in this Complaint.

      35.    The conduct, action, and/or inaction of AppFolio was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 USC § 1681o.

      36.    Plaintiff is entitled to recover costs and attorney’s fees from AppFolio

in an amount to be determined by the Court pursuant to 15 USC § 1681o.

      WHEREFORE,           Plaintiff,   SHAQUITHIA        LANETTE        JACKSON,

respectfully requests that this Court award actual damages against Defendant,

APPFOLIO, INC., jointly and severally; award Plaintiff her attorney’s fees and

costs; award pre-judgment and post-judgment interest at the legal rate; and grant all

such additional relief as the Court deems appropriate.

                                    COUNT II
                      Violation of 15 U.S.C. § 1681e(b) as to
                       Defendant, AppFolio, Inc. (Willful)

      37.    Plaintiff re-alleges and incorporates paragraphs one (1) through twenty-

nine (29) above as if fully stated herein.




                                             8
  Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.9 Filed 07/30/24 Page 9 of 13




      38.    AppFolio violated 15 U.S.C. § 1681e(b) by failing to establish or to

follow reasonable procedures to assure maximum possible accuracy in the

preparation of the background report and background files it published and

maintains concerning Plaintiff.

      39.    AppFolio allowed inaccurate information to be reported on Plaintiff’s

background file.

      40.    AppFolio prevents its agents from calling consumers (like Plaintiff)

during the dispute process or from calling witnesses with knowledge about the

dispute.

      41.    As a direct result of this conduct, action and/or inaction of AppFolio,

Plaintiff suffered damages, including without limitation, denials for housing; loss of

time; financial loss; and mental and emotional pain stemming from the anguish,

humiliation, apprehension in applying for housing, and the damages otherwise

outlined in this Complaint.

      42.    The conduct, action, and/or inaction of AppFolio was willful, rendering

it liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 USC § 1681n.

      43.    Plaintiff is entitled to recover costs and attorney’s fees from AppFolio

in an amount to be determined by the Court pursuant to 15 USC § 1681n.




                                          9
 Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.10 Filed 07/30/24 Page 10 of 13




      WHEREFORE,           Plaintiff,   SHAQUITHIA         LANETTE         JACKSON,

respectfully requests that this Court award actual or statutory damages and punitive

damages against Defendant, APPFOLIO, INC., jointly and severally; award Plaintiff

her attorney’s fees and costs; award pre-judgment and post-judgment interest at the

legal rate; and grant all such additional relief as the Court deems appropriate.

                                   COUNT III
                       Violation of 15 U.S.C. § 1681i as to
                      Defendant, AppFolio, Inc. (Negligent)

      44.    Plaintiff re-alleges and incorporates paragraphs one (1) through twenty-

nine (29) above as if fully stated herein.

      45.    After receiving Plaintiff’s disputes, AppFolio violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s background file

after receiving notice of such inaccuracies; (2) failing to conduct a lawful

reinvestigation; (3) failing to maintain reasonable procedures with which to filter

and verify disputed information in Plaintiff’s background file, and (4) relying upon

verification from a source it has to know is unreliable.

      46.    Despite the information provided by Plaintiff regarding the inaccurate

reporting, AppFolio refused to conduct any independent investigations into

Plaintiff’s disputes and simply transferred the duty to investigate to the furnisher(s).

      47.    As a direct result of this conduct, action and/or inaction of AppFolio,

Plaintiff suffered damages, including without limitation, denials for housing; loss of

                                             10
 Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.11 Filed 07/30/24 Page 11 of 13




time; financial loss; and mental and emotional pain stemming from the anguish,

humiliation, apprehension in applying for housing, and the damages otherwise

outlined in this Complaint.

      48.    The conduct, action, and/or inaction of AppFolio was negligent,

rendering it liable for actual damages in an amount to be determined by the Court

pursuant to 15 USC § 1681o.

      49.    Plaintiff is entitled to recover costs and attorney’s fees from AppFolio

in an amount to be determined by the Court pursuant to 15 USC § 1681o.

      WHEREFORE,           Plaintiff,   SHAQUITHIA       LANETTE        JACKSON,

respectfully requests that this Court award actual damages against Defendant,

APPFOLIO, INC., jointly and severally; award Plaintiff her attorney’s fees and

costs; award pre-judgment and post-judgment interest at the legal rate; and grant all

such additional relief as the Court deems appropriate.

                                    COUNT IV
                        Violation of 15 U.S.C. § 1681i as to
                        Defendant, AppFolio, Inc. (Willful)

      50.    Plaintiff re-alleges and incorporates paragraphs one (1) through twenty-

nine (29) above as if fully stated herein.

      51.    After receiving Plaintiff’s disputes, AppFolio violated 15 U.S.C. §

1681i by: (1) failing to delete inaccurate information in Plaintiff’s background file

after receiving notice of such inaccuracies; (2) failing to conduct a lawful

                                             11
 Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.12 Filed 07/30/24 Page 12 of 13




reinvestigation; (3) failing to maintain reasonable procedures with which to filter

and verify disputed information in Plaintiff’s background file, and (4) relying upon

verification from a source it has to know is unreliable.

      52.    Despite the information provided by Plaintiff regarding the inaccurate

reporting, AppFolio refused to conduct any independent investigations into

Plaintiff’s disputes and simply transferred the duty to investigate to the furnisher(s).

      53.    As a direct result of this conduct, action and/or inaction of AppFolio,

Plaintiff suffered damages, including without limitation, denials for housing; loss of

time; financial loss; and mental and emotional pain stemming from the anguish,

humiliation, apprehension in applying for housing, and the damages otherwise

outlined in this Complaint.

      54.    The conduct, action, and/or inaction of AppFolio was willful, rendering

it liable for actual or statutory damages and punitive damages in an amount to be

determined by the Court pursuant to 15 USC § 1681n.

      55.    Plaintiff is entitled to recover costs and attorney’s fees from AppFolio

in an amount to be determined by the Court pursuant to 15 USC § 1681n.

      WHEREFORE,           Plaintiff,   SHAQUITHIA         LANETTE         JACKSON,

respectfully requests that this Court award actual or statutory damages and punitive

damages against Defendant, APPFOLIO, INC., jointly and severally; award Plaintiff




                                          12
 Case 2:24-cv-11959-LJM-CI ECF No. 1, PageID.13 Filed 07/30/24 Page 13 of 13




her attorney’s fees and costs; award pre-judgment and post-judgment interest at the

legal rate; and grant all such additional relief as the Court deems appropriate.

                                    JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a

trial by jury of all issues triable by jury.

                                PRAYER FOR RELIEF

       WHEREFORE,           Plaintiff,    SHAQUITHIA           LANETTE        JACKSON,

respectfully requests that this Court award judgment for actual, statutory,

compensatory, and punitive damages against Defendants, APPFOLIO, INC., jointly

and severally; attorneys’ fees and costs; prejudgment and post-judgment interest at

the judgment rate; and such other relief the Court deems just and proper.

       DATED this 30th day of July 2024.

                                                    Respectfully submitted,

                                                    /s/ Octavio Gomez
                                                    Octavio “Tav” Gomez, Esq.
                                                    Florida Bar #: 0338620
                                                    Georgia Bar #: 617963
                                                    Pennsylvania Bar #: 325066
                                                    The Consumer Lawyers PLLC
                                                    501 E. Kennedy Blvd, Ste 610
                                                    Tampa, Florida 33602
                                                    Cell: (813) 299-8537
                                                    Facsimile: (844) 951-3933
                                                    Primary Email:
                                                    Tav@theconsumerlawyers.com
                                                    Attorneys for Plaintiff

                                               13
